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Attorney or Party without Attorney: For Court Use Only

Kyle Roche, Esq.

Roche Freedman LLP

99 Park Avenue, Suite 1910

New York, NY 10016
Telephone No: 646-350-0527

Ref. No. or File No.:

Attorney for: Plaintiff
Insert name of Court, and Judicial District and Branch Court:
United States District Court - Northern District Of California
Plaintiff; Daniel Valenti, et al.
Defendant: Dfinity USA Research LLC, et al.
PROOF OF SERVICE Hearing Date: Time: Depi/Div: Case Number:
Summons & Complaint 21CV06118JD
I. At the time of service I was at least 18 years of age and not a party to this action.

2. I served copies of the Summons in a Civil Action; Class Action Complaint; Civil Cover Sheet; Class Actions Subject to Private
Securities Litigation Reform Act and ADR Deadlines; Notice of Assignment; Standing Order for All Judges; Standing Order for Civil
Cases Before Judge James Donato; Standing Order for Civil Jury Trials Before Judge James Donato; Standing Order for Discovery in

Civil Cases Before Judge James Donato

3. a. Party served: Dfinity USA Research, LLC
b. Person served: John Montijo, Service of Process Intake Clerk
4, Address where the party was served: C T Corporation
330 N. Brand Blvd.
Suite 700

Glendale, CA 91203

5. I served the party:
a, by personal service, I personally delivered the documents listed in item 2 to the party or person authorized to receive
process for the party (1) on: Fri., Sep. 03, 2021 (2) at: 11:40AM

7. Person Who Served Papers: Recoverable Cost Per CCP 1033.5(a)(4)(B)

a. Douglas Forrest d. The Fee for Service was:
b. Class Action Research & Litigation e. Tam: (3) registered California process server
P O Box 740 (i) Independent Contractor
Penryn, CA 95663 (ii) Registration No.: $141
c. (916) 663-2562, FAX (916) 663-4955 (ii) County: Los Angeles

8& Ideclare under penaly of perjury under the laws of the State of Calffornia that the for g is true and correct.
Date: Fri, Sep. 03, 2021 rr

Judicial Council Form PROOF OF SERVICE ugias Forres

Rule 2.150.(a)&(b) Rev January 1, 2007 kyroc. 223352
